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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN


MICHELLE R. GILBANK,

                         Plaintiff,                                 Case No. 20-cv-601-jdp
        v.

WOOD COUNTY DEPARTMENT OF
HUMAN SERVICES, et al.

                         Defendants.


                    WOOD COUNTY DEFENDANTS’ RESPONSE TO
               PLAINTIFF’S ADDITIONAL PROPOSED FINDINGS OF FACT


        NOW COME Defendants, Theresa Heinzen-Janz, Mary Christensen, Anne LaChapelle,

and Mary Solheim (collectively “Wood County Defendants”), by their attorneys, Axley Brynelson,

LLP, by Michael J. Modl, Lori M. Lubinsky, Aneet Kaur, and Danielle Baudhuin Tierney, and

submit the following response to Plaintiff’s Statement of Proposed Findings of Fact No. 2.

        1.       Wood County Defendants Theresa Heinzen-Janz, Mary Christensen, and Anne La

Chapelle relied on CPServices Access & Initial Assessment Standards in evaluating the safety of

T.E.H. (Dkt. 114-07,1 p. 3, ¶ 3)

        Response: The evidence cited does not support Plaintiff’s proposed fact. As such,

Plaintiff’s proposed fact is unsupported by evidentiary support and the Court should disregard

Plaintiff’s proposed fact. Fed. R. Civ. P. 56(e).

        2.       The CPS Access and Initial Assessment Standards requires that thorough

information be gathered in the following areas:



1
 Plaintiff cited to “Dkt. 114-07,” which does not exist. The Wood County Defendants have responded assuming that
Plaintiff intended to reference Dkt. 115-7, given the context of the proposed fact.
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            Maltreatment including alleged maltreatment, and any other type of maltreatment

             occurring within the family.

            Surrounding Circumstances including circumstances leading up to maltreatment and

             the parent’s/caregiver’s response.

            Child Functioning including general functioning, disabilities, or special needs of all

             children in the household, effects of any maltreatment, and child vulnerabilities.

            Adult Functioning including general functioning, mental, emotional and physical

             health, disabilities, and enhanced and diminished Parent/Caregiver Protective

             Capacities (see CPS Safety Intervention Standards, Appendix 8: Parent/Caregiver

             Protective Capacities).

            Parenting Practices including general parenting practices, discipline practices, and

             enhanced and diminished parent/caregiver protective capacities.

            Family Functioning including strengths and current stresses.

        (Dkt. 114-1,2 p.89)

        Response:        The material cited to support the proposed fact is inadmissible hearsay. See

Fed. R. Evid. 801(c); Fed. R. Evid. 802. As such, Plaintiff’s proposed fact is unsupported by

evidentiary support and the Court should disregard Plaintiff’s proposed fact. Fed. R. Civ. P. 56(c);

(e).

        3.       On 07/03/2018, Defendants Heinzen-Janz and Iverson were made aware that Ian

Hoyle’s visitation with T.E.H. was required to be supervised. “He gets 4 hours of supervised visits

at PDC once per week.” (Dkt. 114-1, p.2)




2
 Plaintiff cited to “Dkt. 114-1,” which does not exist. The Wood County Defendants have responded assuming that
Plaintiff intended to reference Dkt. 115-1, given the context of the proposed fact.
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       Response:       Plaintiff’s proposed fact is unsupported by evidentiary support; Dkt. 114-1

does not exist, and Defendants cannot ascertain what document Plaintiff is attempting to refer to.

The Court should disregard Plaintiff’s unsupported proposed fact. Fed. R. Civ. P. 56(e).

       4.      On 07/03/2018, Defendants Heinzen-Janz and Iverson were made aware that Ian

Hoyle’s counseling was due to anger management issues. “Ian is currently undergoing counseling

for himself for anger management, and it is partly due to plaintiff’s behavior.” (Dkt. 60-6, p. 5, ¶

3) “Ian is currently undergoing counseling for himself for anger management.” (Dkt. 107-01, p.

18, ¶ 3)

       Response:       Undisputed.

       5.      On 07/03/2018, Ian Hoyle “expressed that he never sees <plaintiff> sleep, but he

has never seen her use either” to Defendants Heinzen-Janz and Iverson. (Dkt. 107-1, p.18, ¶ 6)

       Response:       Undisputed.

       6.      On 07/03/2018, Defendants Heinzen-Janz and Iverson were made aware that Ian

Hoyle “abused alcohol and likes downers”. (Dkt. 107-01, p.18, ¶ 7 )

       Response:       Undisputed.

       7.      On 07/11/2018, Defendant Heinzen-Janz was made aware of further domestic

violence by Ian Hoyle towards plaintiff and T.E.H., and that Ian Hoyle and plaintiff “fight

constantly out in the open because he doesn’t let her <or T.E.H.> into the apartment when he is

home.” (Dkt. 107-1, p.52, ¶ 1, line 8)

       Response:       The evidence cited does not support Plaintiff’s proposed fact. As such,

Plaintiff’s proposed fact is unsupported by evidentiary support and the Court should disregard

Plaintiff’s proposed fact. Fed. R. Civ. P. 56(e).
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        8.       Wisconsin CPS Access and Initial Assessment Standards, Appendix 3, instructs

CPS workers of the following:

        Absent a direct allegation of abuse or neglect to a child, a report of children exposed to

        domestic violence should be screened-in as a CPS report according to the following

        criteria:

                A report is made in which there is reasonable cause to suspect there is current

                 domestic violence or the abuser has a history of domestic violence, and

                there is reason to suspect the child is intervening or will intervene, placing him or

                 her at risk of injury, or

                the child is likely to be injured during the violence (e.g., being held during the

                 violence, physically restrained from leaving), or

                the alleged perpetrator does not allow the protective parent and child access to basic

                 needs impacting their health or safety

        (Dkt. 111-1, p.98, ¶ 2)

        Response:        Plaintiff’s proposed fact is unsupported by evidentiary support; Dkt. 111-1

does not exist, and Defendants cannot ascertain what document Plaintiff is attempting to refer to.

The Court should disregard Plaintiff’s unsupported proposed fact. Fed. R. Civ. P. 56(e). Further,

to the extent the Court locates the document referenced by Plaintiff, it is inadmissible hearsay. See

Fed. R. Evid. 801(c); Fed. R. Evid. 802. As such, Plaintiff’s proposed fact is unsupported by

evidentiary support and the Court should disregard Plaintiff’s proposed fact. Fed. R. Civ. P. 56(c);

(e).

        9.       Ian Hoyle has a history of domestic violence. 11/06/97 – Arrest, Battery; 01/30/97

– Arrest, Domestic Abuse Counseling ordered; 10/24/96 – Arrest, Domestic Abuse; 10/23/96 –
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Arrest, Batterer’s Group ordered. Ian Hoyle also has a history of sexual assault of a child, drug

use, criminal trespass, burglary, DUIs, violating probation, and failure to register as a sex-offender.

(Dkt. 60-7, p. 2-4)

        Response:        The material cited to support the proposed fact is inadmissible hearsay. See

Fed. R. Evid. 801(c); Fed. R. Evid. 802. As such, Plaintiff’s proposed fact is unsupported by

evidentiary support and the Court should disregard Plaintiff’s proposed fact. Fed. R. Civ. P. 56(c);

(e).

        10.       On 07/26/2018, Defendants Heinzen-Janz and Iverson were made aware of further

domestic violence by Ian Hoyle towards plaintiff and T.E.H. Defendant Heinzen-Janz states in her

report that “This worker, Social Worker Taylor Young, and defendant Iverson conducted an

unannounced home visit.” She leaves out entirely that the cause of the visit was Ian Hoyle placing

a phone call to defendant Iverson’s personal cell phone in a fury because Plaintiff confronted him

about his lying and abuse. (Dkt. 114-2,3 p.4)

        Response:        The evidence cited does not support Plaintiff’s proposed fact. As such,

Plaintiff’s proposed fact is unsupported by evidentiary support and the Court should disregard

Plaintiff’s proposed fact. Fed. R. Civ. P. 56(e).

        11.       Wisconsin CPS Access and Initial Assessment Standards, Appendix 3, instructs

CPS workers of the following:

                 The abuser may not be a reliable source of information about his violent behavior

                  or his use of power and control tactics. Better sources of information include the

                  adult and child victims, police reports, medical reports, and collateral contacts.




3
 Plaintiff cited to “Dkt. 114-2,” which does not exist. The Wood County Defendants have responded assuming that
Plaintiff intended to reference Dkt. 115-2, given the context of the proposed fact.
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                 Be aware that perpetrators of domestic abuse often appear very believable and

                  controlled, especially during initial interviews. An abuser may also present himself

                  as a victim of domestic abuse.

                 Interview the domestic abuser in a way that encourages disclosure of abusive

                  conduct. Domestic abusers routinely deny, minimize, or blame the victim for their

                  violent behaviors. Ask specific questions about behaviors, as a perpetrator may not

                  think of their actions as violent or abusive. For example, he may believe that

                  "violence" refers to a serious injury requiring medical attention, whereas pushing,

                  slapping or hitting is simply "arguing" or "disagreeing".

                 If an alleged maltreater denies domestic abuse, do not try to force disclosure, but

                  move on to other subjects. Angry confrontations with domestic abuse perpetrators

                  can result in retaliation against the child or adult victim. You do not need the

                  perpetrator's disclosure to confirm that domestic abuse has occurred. Such

                  confirmation comes from adult and child victim statements, CPS professional

                  observations and other agency reports.

        (Dkt. 114-01,4 p. 103, ¶ 1-4)

        Response:        The material cited to support the proposed fact is inadmissible hearsay. See

Fed. R. Evid. 801(c); Fed. R. Evid. 802. As such, Plaintiff’s proposed fact is unsupported by

evidentiary support and the Court should disregard Plaintiff’s proposed fact. Fed. R. Civ. P. 56(c);

(e).

        12.       On 07/03/2018, at the exact same time that plaintiff was waiting patiently for

defendant Heinzen-Janz to appear for her scheduled appointment to assist plaintiff in finding safe


4
 Plaintiff cited to “Dkt. 114-01,” which does not exist. The Wood County Defendants have responded assuming that
Plaintiff intended to reference Dkt. 115-1, given the context of the proposed fact.
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housing and leaving Ian Hoyle, Ian Hoyle contacted defendant Iverson to arrange a meeting in

which he could gaslight, scapegoat, and slander plaintiff. Defendant Iverson agreed to meet with

him immediately. Defendant Heinzen-Janz did not call or show up to her appointment with

plaintiff for resources, but instead went with defendant Iverson to speak with Ian Hoyle. (Dkt. 60-

06, p. 5-7)

       Response:       The evidence cited does not support Plaintiff’s proposed fact. As such,

Plaintiff’s proposed fact is unsupported by evidentiary support and the Court should disregard

Plaintiff’s proposed fact. Fed. R. Civ. P. 56(e).

       13.     On 08/21/2018, during plaintiff’s interrogation, plaintiff says that all she wants is

to be on a regulated prescription. Defendant Iverson responds, “And that sucks…” (Dkt. 60-09 @

13:30:23)

       Response:       The evidence cited does not support Plaintiff’s proposed fact. As such,

Plaintiff’s proposed fact is unsupported by evidentiary support and the Court should disregard

Plaintiff’s proposed fact. Fed. R. Civ. P. 56(e).

       14.     On 08/21/2018, during plaintiff’s interrogation, defendant Iverson states, “Now I

don’t think <T.E.H.> would be better off with <Ian Hoyle>. I don’t think that at all. I think she’d

be better off with her mom.” (Dkt. 60-09 @ 13:)

       Response:       Plaintiff failed to properly cite to supporting evidence with the requisite

specificity. As such, Plaintiff’s proposed fact is unsupported by evidentiary support and the Court

should disregard Plaintiff’s proposed fact. Fed. R. Civ. P. 56(e).

       15.     On 08/21/2018, during plaintiff’s interrogation, defendant Iverson reads plaintiff

her Miranda Rights, including her right to have an attorney present during questioning, or to

rewquest [sic] one at any time during questioning. (Dkt. 60-09 @ 13:33:00)
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       Response:       Undisputed that Iverson read Plaintiff her Miranda Rights during the

8/21/2018 conversation.

       16.      On 08/21/2018, during plaintiff’s interrogation, defendant Iverson states, “you do

really well with Tesla from what I’ve seen, and she shows it. I mean, she clings right to you.” (Dkt.

60-09 @ 13:44:50)

       Response:       Undisputed that Iverson made the statement during the 8/21/2018

conversation.

       17.      On 08/21/2018, after attending the plaintiff’s interrogation, defendant Heinzen-

Janz completed a petition for protection or services. “Based on Michelle’s lack of cooperation

present danger threats were identified in that the parent overtly rejects intervention and the parent

is intoxicated now or is consistently under the influence, therefor [sic], the department took

temporary physical custody and placed her in the care of her father.” (Dkt. 82-08, p. 2, ¶ 7)

       Response:       Undisputed.

       Dated this 5th day of October, 2021.

                                              AXLEY BRYNELSON, LLP

                                              Electronically signed by Danielle Baudhuin Tierney
                                              Michael J. Modl, SBN 1011419
                                              Lori M. Lubinsky, SBN 1027575
                                              Aneet Kaur, SBN 1088063
                                              Danielle Baudhuin Tierney, SBN 1096371
                                              Attorneys for Defendants
                                              Post Office Box 1767
                                              Madison, WI 53701-1767
                                              Telephone: (608) 257-5661
                                              Facsimile: (608) 257-5444
                                              mmodl@axley.com
                                              llubinsky@axley.com
                                              akaur@axley.com
                                              dtierney@axley.com
